Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 1 of 46




                 EXHIBIT B-047
           Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 2 of 46


                                                                                   FIL             IN OFFICE

                                                                                                           20
                       IN THE SUPERIOR COURT OF FULTON COUNT
                                 ATLANTA JUDICIAL CIRCUIT                         DEP               SUPE
                                                                                                   COUNTY,
                                                                                                                URT

                                     STATE OF GEORGIA
 In re: Subpoena to Non-Party Lindsey O.          )
 Graham'in his ofﬁcial capacity as United         )
 States Senator,                                  )
       ‘
              ‘                                   )             Case No. 2022-EX-000024
 in the matter of:                                )
                                                  )           Judge Robert C. I. McBurney
              I




 Special Purpose Grand Jury, Fulton County        )
 Superior Court                                   )

NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

TO:         Fani T. Willis
            Fulton County District Attorney’s Ofﬁce
            136 Pryor Street SW
            3m Floor
            Atlanta, Georgia 30303

            Cathelene Robinson
            Clerk of Superior Court Fulton County, Georgia
            136 Pryor Street SW
            Atlanta, Georgia 30303

            Pursuant to 28 U.S.C. § 1446(d), you are hereby notiﬁed of the ﬁling of a Notice of

Removal of the above-captioned action to the United States District Court for the Northern District

of Georgia. A service copy of the Notice of Removal ﬁled with respect to this action is attached

hereto as Exhibit A.

 Dated: July 29, 2022                                 /s/ Brian C. Lea
   r
                                                      Brian C. Lea
                                                      (Georgia Bar No. 213529)
                                                      JONES DAY
                                                      1221 Peachtree Street, N.E., Suite 400
                                                      Atlanta, GA 30361
                                                                                             4




                                                      Telephone: (404) 581-3939
                  -
                                                      Facsimile: (404) 581-8330
                                                      blea@jonesday.com
                                                                                             I


                                                                                             .

                                                                                             i I       i

                                                                                                       l



                                                                                                       l




                                                      Counsel for Senator Lindsey 0.
                                                                                                            I


                                                                                             i
                                                                                                       ‘

                                                                                                       l




                                                                                        Grahtcizm
                                                                                             l:
     Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 3 of 46




                                CERTIFICATE OF SERVICE
       I hereby certify that on July 29, 2022, I caused a copy of the foregoing to be served via

U.S. Mail on the following recipients:

       Fani T. Willis
       Fulton County District Attorney’s Ofﬁce
       136 Pryor Street SW
       3’d Floor
       Atlanta, Georgia 30303

                                            /s/ Brian C. Lea
                                            Brian C. Lea

                                            Counsel for Senator Lindsey 0. Graham
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 4 of 46




                 EXHIBIT A
     Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 5 of 46




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
In re subpoena to Non-Party Lindsey
O. Graham in his ofﬁcial capacity as
United States Senator,                        Case No.

 in the matter of:

 Special Purpose Grand Jury, Fulton
 County Superior Court Case No.
 2022-EX-000024.


                              NOTICE OF REMOVAL

      Non-party subpoena-recipient, United States Senator Lindsey O. Graham,

removes this proceeding from the Fulton County Superior Court (Case No. 2022-

EX-000024) to the United States District Court for the Northern District of Georgia

under 28 U.S.C. §§ 1441, 1442(a), and 1446. Senator Graham denies the validity

and enforceability of the Subpoena and all related process and ﬁles this Notice

                                                      or rights that may exist in his
without ‘waiving any defenses, motions, exceptions,

favor in either state or federal court.

I.     Senator Graham has timely removed this action.
       The Subpoena at issue, which purports to “command[]” Senator Graham to

“lay[] all [of his] business aside” and “appear before the Special Purpose Grand

Jury,” is attached as Exhibit 1. The Subpoena was issued on July 26, 2022, and it


                                      Page 1 of 10
       Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 6 of 46




requiresSenator Graham’s testimony on August 23, 2022, at 9:00 a.m., before a

“special purpose grand jury” established under Georgia law. See O.C.G.A. § 15-12-

100(a). Senator Graham accepted service of this Subpoena on July 27, 2022. This

Notice of Removal, ﬁled two days later, is therefore ﬁled well within thirty days of

issuance and service of the Subpoena—and indeed even within 30 days of the

Certiﬁcate of Material Witness (Exhibit 2)—so it is timely under 28 U.S.C. § 1446,

including speciﬁcally under § 1446(g). See, e. g., Murphy Brothers, Inc. v. Michetti

Pipe Stringing, Ina, 526 U.S. 344, 347—51 (1999); Miami Herald Media C0. v. Fla.

Dep ’t of Transportation, 345 F. Supp. 3d 1349, 1366—67 (N .D. Fla. 2018).

II.      Sénator Graham has given proper notice of the removal and attached the
         pleadings.

         As required by 28 U.S.C. § 1446(d)—and as evidenced by the Certiﬁcate of

Service—Senator Graham is providing written notice of this removal to the relevant

parties and the Fulton County Superior Court. In addition to the Subpoena attached

      Exhibit l and the Certiﬁcate
as                                   attached as Exhibit 2, Senator Graham also attaches,

as Exhibit 3, the District Attorney’s ex parte petition asking the state court to issue

the Certiﬁcate and, as Exhibit 4, the public docket for the special grand jury. See 28

U.S.C. § 1446(a).




                                         Page 2 of 10
       Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 7 of 46




III.    This Court has jurisdiction over this proceeding.

        The principal ground for removal here is the federal—ofﬁcer-removal provision

in §              See 28 U.S.C. § 1446(a) (requiring a “short and plain statement of the
       1442(a).

groundsi
           for removal”). This proceeding is Within the jurisdiction of the United

States District Court for the Northern District of Georgia under 28 U.S.C. § 1442,.

which permits removal of any “civil action or criminal prosecution”—including

proceedings in which “a judicial order, including a subpoena for testimony or

documents, is sought or issued”—pending in state court and directed at a federal

ofﬁcial “for or relating to any act under color of such ofﬁce.” 28 U.S.C. § 1442(a)(l);

see alsov28 U.S.C. § l442(a)(4)                 removal by “[a]ny ofﬁcer of either House
                                    (allowing
of Congress” of any “civil action or criminal prosecution          for or relating to any

act in the discharge of his ofﬁcial duty under an order of such House”).

        “Only two prerequisites must be met before an action may be removed under

§ l442(a)(1):      ﬁrst, the [civil action or criminal prosecution] must be against any

ofﬁcer, agency, or agent of the United States for any act under color of such ofﬁce;

and               the federal actor or agency being challenged must raise a colorable
       second,
defense larising out of its duty to enforce federal law.” State 0f Fla. v. Cohen, 887

F.2d 14$ 1 , 1453—54 (11th Cir. 1989). Both prerequisites are met here.




                                       Page 3 of 10
    Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 8 of 46




      First, this proceeding is a “civil action or criminal prosecution” as deﬁned by

statute, unquestionably against a federal ofﬁcer for alleged actions he took under

color of his ofﬁce as Senator. Indeed, the federal-ofﬁcer-removal statute expressly

deﬁnes a removable “civil action” to include precisely What is at issue here:
                                                                                 CC
                                                                                      any

proceeding (whether or not ancillary to another proceeding) to the extent that in such

proceeding a judicial order, including a subpoena for testimony or documents, is

sought or issued.”    28 U.S.C. § 1442(d)(1).      Even before Congress added this

speciﬁc language to the statute in 2011, this kind of subpoena proceeding was a

removable civil action. See, e. g., Cohen, 887 F.2d at 1453—54; Brown & Williamson

Tobacco Corp. v. Williams, 62 F.3d 408 (D.C. Cir. 1995); Nationwide Invs. v. Miller,

793 F.2d 1044, 1047 (9th Cir. 1986); see also Johnson v. Soc. Sec. Admin, 2018 WL

4677829, at *4 (E.D. Va. June 8, 2018) (collecting cases permitting removal of

subpoena proceedings). Now, after Congress has “made [this] explicit in [the] 2011

amendments,” it is beyond peradventure.         16 Moore’s Federal Practice—Civil


§ 107.100[4][c] (2022, online ed.); accord 14C Fed. Prac. & Proc. Juris. §3726

(Rev. 4th ed., Westlaw database, April 2022 update).

      Second, Senator Graham also satisﬁes the “lenient colorable federal defense

requirement for removal.” Caver v. Cent. Alabama Elec. Coop, 845 F.3d 1135,

1145—46 (11th Cir. 2017); see Jeﬂerson County v. Acker, 527 U.S. 423, 431—32




                                    Page 4 of 10
           Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 9 of 46




    (1999).       In defense against being forced to testify in front of a state-court

    investigative body, Senator Graham raises constitutional issues that the Framers

    thought :were “indispensably necessary[]” to a functioning Republic—namely, that

    legislators “should enjoy the fullest liberty of speech, and that [they] should be

    protected from the resentment of every one, however powerful, to whom the exercise

    of that liberty may occasion offense.” Tenney v. Brandhove, 341 U.S. 367, 373—74

    (1951) (quoting H Works of James Wilson 38 (Andrews ed. 1896)); see Motion to

    Quash, ﬁled concurrently herewith.

            More speciﬁcally, the Subpoena the District Attorney has directed at Senator

    Graham requires him to appear and testify in Georgia about activities he performed

    as a
           United States Senator and then-Chairman of the Senate Judiciary Committee.

    Prior process related to the Subpoena, including the Certiﬁcate, conﬁrms that the

    District Attorney believes Senator Graham is a witness relevant the Special Purpose

    Grand Jury’s investigation based on two alleged phone calls to “Georgia Secretary

    of State Brad Raffensperger and members of his staff in the weeks following the

    November 2020 election in Georgia.” EX. 2 11112—3. One of the staff members
'




    mentioned in the Certiﬁcate was Deputy Secretary of State Gabriel Sterling, who

    has
          comimented
                       publicly about a call with Senator Graham: “Senator Graham called.

    He had iquestions about our [electoral] process. We answered the questions about
              l




                                          Page 5 of 10
      Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 10 of 46




that process.” See Video Interview of Gabriel Sterling at 1:56, CNN Newsource


(Nov. 18, 2020), available at https://bit.ly/3za979a.

        These “questions about that process”—concerning electoral integrity and

security as well as investigating possible irregularities before Senator Graham voted

to certify the results of the 2020 election—are within Senator’s Graham’s ofﬁcial


legislative responsibilities. See Eastland v. U.S. Servicemen ’s Fund, 421 U.S. 491,

502 (1975); Range] v. Boehner, 785 F.3d 19, 24 (D.C. Cir. 2015); U.S. Const. art.

H, § 1, cl. 3; 3 U.S.C. § 15 (detailing processiunder the Electoral County Act of

1887). Senator Graham thus argues in a contemporaneously ﬁled motion to quash

that federal defenses and immunities—including absolute legislative immunity and


privilege under the Speech or Debate Clause—require this Court to quash the

Subpoena. See U.S. Const. art. I, § 6, c1. 1; Brown & Williamson, 62 F.3d at 414-

15; United States v. Swindall, 971 F.2d 1531 (11th Cir. 1992). Senator Graham also

asserts
          the defense
                        of federal sovereign immunity. See FDIC v. Meyer, 510 U.S.

471, 475 (1994). And he raises the lack of extraordinary circumstances necessitating

the                of a high-ranking government official. See In re United States, 985
      testiémony

F.2d 510 (11th Cir. 1993).

        In cases of this kind, Congress did not leave its Members to litigate federal

and constitutional defenses in state court, but instead gave them the right of removal



                                       Page 6 of 10
      Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 11 of 46




under § 1442(a). See Jeﬂerson County, 527 U.S. at 431—32; Willingham v. Morgan,

395 U.S. 402, 405 (1969); Cohen, 887 F.2d at 1453—54; State ofN. C. v. Carr, 386

F.2d 129, 131 (4th Cir. 1967). Removal is proper.

IV.     Request for briefing and oral argument.

        If any question arises as to the propriety of removal, Senator Graham requests

the chance to present briefs, oral argument, and if necessary, other material in


support of his position that removal is proper. See Pretka v. Kolter City Plaza II,

Ina, 608 F.3d 744, 773—74 & n.29 (11th Cir. 2010) (recognizing that the “notice of

removal should contain only ‘a short and plain statement of the grounds for

removal,” while allowing the removing party to “supplement[] its ‘short and plain

statement’ with additional evidence and explanation” if removal is challenged); cf

Dart Cherokee Basin Operating C0. v. Owens, 574 U.S. 81, 88—89 (2014).

                                   CONCLUSION

        Senator Graham thus removes this proceeding from the Georgia Superior

Court to the United States District Court for the Northern District of Georgia under

28 U.S.C. §§ 1442, 1441, and 1446.




                                     Page 7 of 10
  Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 12 of 46




Date: July 29, 2022                Respectfully submitted,

                                   /s/ Brian C. Lea
DONALD F. MCGAHN II                BRIAN C. LEA
 Appliéation for admission         Georgia Bar No. 213529
pro hac vice forthcoming           JONES DAY
ROBERT LUTHER III                  1221 Peachtree Street, N.E.,
 Application for admission         Suite 400
pro hac vice forthcoming           Atlanta, Georgia 30361
JONES DAY                          (404) 521-3939
51 Louisiana Ave., NW              blea@j onesday.com
Washington, DC 20001
(202) 879-3939                     E. BART DANIEL
dmcgahn@j onesday.com               Application for admission
rluther@j onesday.com              pro hac vice forthcoming
                                   MARSHALL T. AUSTIN
                                    Application for admission
                                   pro hac vice forthcoming
                                   NELSON MULLINS RILEY &
                                    SCARBOROUGH LLP
                                   151 Meeting Street,
                                   Suite 600
                                   Charleston, SC 29401
                                   (843) 853-5200
                                   bart.daniel@nelsonmullins.com
                                   matt.austin@nelsonmullins.com


              Counsel for United States Senator Lindsey Graham




                                Page 8 of 10
   Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 13 of 46




            CERTIFICATE OF COMPLIANCE WITH LR 5.1(B)
      I hereby certify that this brief has been prepared with one. of the font, point,

and style selections approved by the Court in LR 5. 1(B)—name1y, double-spaced in


14-point Times New Roman font.

 Date: July 29, 2022                   /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                        JONES DAY
                                        1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521-3939
                                        blea@jonesday.com

                                        Counsel for United States Senator Lindsey
                                        Graham




                                    Page 9 of 10
   Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 14 of 46




                         CERTIFICATE OF SERVICE
      I hereby certify that on July 29, 2022, I caused a copy of the foregoing to be

served Via U.S. Mail on the following recipients:

      Fani T. Willis
      Fulton County District Attorney’s Ofﬁce
      136 Pryor Street SW
      3rd Floor
      Atlanta, Georgia 30303


 Date: July 29, 2022                   /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                       JONES DAY
                                       1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521—3939
                                       blea@j onesday.com

                                       Counsel for United States Senator Lindsey
                                       Graham




                                   Page 10 of 10
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 15 of 46




              EXHIBIT 1                             I
  Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 16 of 46




                     STATE OF GEORGIA, FULTON COUNTY


                        SUBPOENA FOR THE
                  ATTENDANCE OE? WETNESS-
                         PURSUANT TO 0.C.G.A. 8 24-13-21.


T0: Lindsey Graham.

YOU ARE HEREBY COMMANDED, that laying all other business aside,
                                                                              you
be and appear before the Special Purpose Grand
                                                Jury, Fulton County, Georgia,
Hon. Robert C. l. McBurney, Judge, Superior Court of Fulton
                                                              County, Fulton
County Courthouse, 136 Pryor Street, 3rd Floor, Atlanta, Georgia 30303, to be
held on August 23, 2022, at 9:00 a.m., in the Grand
                                                    Jury Room, then and thereto
be sworn as a Witness for the State of Georgia, in the case of IN RE: SPECIAL.
PURPOSE GRAND JURY, Case Number 2022—EX—000024.

You are required to attend from day to day and from time to time until the matter is
disposed of.

HEREIN FAIL NOT, under the penalty of law by authority of the Hon. Robert C.
I. McBurney, Judge, Superior Court of Fulton
                                             County, Georgia,
       ﬂ?
this the    day of      junk!       ,2022.

                                          Cathelene “Tina” Robinson
                                          Clerk of Superior Court
                                          (404) 613-5313

Subpoena issued



NATHAN WADE
Special Prosecutor
By authority of Special Purpose Grand Jury, Superior Court of Fulton County
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 17 of 46




             EXHIBIT 2
    Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 18 of 46




                          lN 'l lift 8‘! ‘l’l‘YRIO‘? ("QURI 0? WW FUN (”GUN i Y                                                   w   «W»




                                                                                                       Fiitéii} iii; oii’sm
                                                STATE OF GEORﬂCIA
                                                                                                          {iii
                                                                                                          MD]?              $33“?
                                                                                                     immi‘i'tt*W   LJSKQ tatwwtx’tt (T133 HR;
13' REC:

SPEK'TIAI, l’liRl’fﬁiE GRAN!) JURY                                   Zll22«l{X~tlﬂlH}24

                                                                     Judge Robert (1‘. I. McBumcy




                                                          vvvw'w
                         CER’I‘IFICATE OF MATERIAL WI'I’N ESS
                PURSUANT Tl") UNIFORM ACT T0 SECURE THE A’l"l‘ENl)ANCE
                      0F Wi’l'NESSES FROM WITHOUT THE S'I‘A’I‘E.
                        CODIFIEI) IN THE STATE OF GREGGIA AS
                                ().C.G.A. 8 24—13—90 ET SEQ.

           Upon the petition ofFani 'l“, Wiilis, District Niamey, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witncsztes from Without the State, acidiﬁed at

(7 ("TOR § 2442,90 ct sct1.,tlilt: C out! i<$ttg$ the              i ll Ming {‘crtifitzatc      Lt‘trflCi‘ xerzl ut‘ﬂwi: ("mitt


and l'unhcr says as fellows:

           l. A Special lhtrposc Grand Jury investigation cmhmcnced in Fulton County; Georgia,

                by order ol‘this COUYIL (in May 2, 2022. Sara Order l mpancling Special Purpogi: Grand

                Jury i‘ursttant ta ().C.(}.A. § 154.2400, ct seq“ “Exhibit A”. 'l‘hc Speciai l’urpcise

                (Emu: 3m), it» autiztirimtt to inwatigatu .1215 tutti all facts and Cil‘CLltltSlLitlQCS relating;

                directly at indirectly ta possible attempts in disrupt the lawful administration of the:

                2020 elections in the State of Georgia. See Letter Requesting Special Purptisc Grand

                Jury, “Exhibit B”,

                Basted on the representations made by the State in the attached “Petition for
       Ix)




            .



                (‘t‘tsiiit‘atitm tlrNtX‘ti fin’ 'ilrx‘tiziiun} guilt}? S'pvdzil l’itrpmc (iirtttzi .‘tti'y l’ttt’sttiilttt tn

                (3.C.(}.A. § 24-13-90 ct seq”, the Court ﬁnds that Lindsay Olin Graham, but:
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 19 of 46




             W   (heroinal‘ter, “the Witness”) is a nccogszh‘y and material witness to the Special

       :‘Lii‘ytes‘c (maul .lizr; Intoxltgzttttsn. thy C ourt .ttztltut‘ limit that tho ‘3 :ltttf<:~ qtttz'cztll“
       Y                 "I!                      '           I          .'           (‘1‘?        m   .   f“   .   A!"    .     .    l   ?‘




                                                                                              ‘
                    ..          .n                            ~v               “’7“;
                                             up   i.      u        ,1.         .t   ,wa I: In a;
                                                                         an.




       alttmcd wt                          i‘tx.\k.lll.lllml:» Item                      n \' lltr: Willy ht lltt.‘ ltllttclttitl Lil’a‘lillun
 U}




                          5
                                      .t                                                                                                         f“. 1;“




       {‘a'ziillwzttimt .‘»5‘\.‘t-L,‘:? fin"?1ut7n‘: at; Rollin: AQQL‘ClIIl Pullman (”hind .lttt'; l’tn‘m m" tn

       000.1                   f;    T334735?“         t scat“; 1hr ("tout hull»; that the ﬁ’ltuuszs :tzatlt; .:i it                               t.~t    tut).

       telephone calls to Georgia Secretary of State Brad Ral‘lhnspergcr and members of his

       staff in the weeks following the November 2020 election in Georgia. During the

       telephone calls, the Witness questioned Secretary Raffensporgcr and his stol‘l‘about

       rocxamining certain absentee ballots cast in Georgia in order to explore the possibility

       of a more favorable outcome for former President Donald 'l‘rttmp. 'l'hc Witness also

       111:,th refusing: to allegations of \\ Mahmud \utct‘ {land in the )‘IQHLJILyK ZGZQ


       election in Georgia, consistent with public xtatcmcnts made by known afﬁliates ol‘the

       'l‘rump Campaign.

       Based on the representations made by the State in the attetchntl “Petition for
  5*




       Certiﬁcation ol‘Nccd for 'l'cstimony Before Special l’urposc Grand Jury Pursuant to

       C).C.(i.£\. § 24- l 3-90 et seq}: the Court ﬁnds that the Witness, based on the

       substance and timing of the telephone talk; he personally made to Georgia Secretary

       of State Brad Raﬁbnspcrgcn is a necessary and material witness in this investigation

       The Whilst.» ponhcanun Huttiquc ktitmlutlgx; cottcmuing the hullbwittu oi“ Elli; alcoholic

       calls, the uéi‘cumstattuos surrounding his. decision to malt; the tgloplmttc calls, the

       logixtiia ul'xviiii‘tg up tlt Eclcphm-c 1.31?le AM :my vekmmimic‘nfimw llc‘fiKT‘C‘ﬁ himwl‘“
                                                          ‘                                                                                                        ~
                                                                                                                                                                       1




       ﬁllets tut ohm] it; 11:; t‘lttttz‘tlttg gm? oxauitiun ut tlat‘ l5ELl‘tlltllix; t‘;§ll\tll1;’ll\t‘.illlp
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 20 of 46




     Campaign, and other known and unknown individuals involved in the multi—state,

     coordinated efforts to inﬂuence the results of the November 2020 election in Georgia

     and elsewhere. Finally, the Witness’s anticipated testimony is essential in that it is


     likely to reveal additional sources ol‘int‘ormation regarding the subject ot'tltis

     investigation.

     The testimony ot’thc Witness will not be cumulative of any other evidence in this

     matter.

     The Witness will be required to be in attendance and testify before the Special

     Purpose Grand Jury on July 12, 2022, and continuing through and until the

     conclusion of the Witness’s testimony on or before August 3 t , 2022, at the Superior

     Court otTlE’uiton County, Fulton County Courthouse, 136 Pryor Street, 3rd, Floor,

     Atlanta, Georgia 30303.

     The Office of the Fulton County District Attorney, in and for the State of Georgia,

     will pay all reasonable and necessary travel expenses and witness fees required to

     secure the Witness’s attendance and testimony: in accordance with O.C.G.A. §24~13~

     90 et seq.

     The Witness shall be given protection from arrest and from service of civil or

     criminal process, both within this State and in any other state through which the

     Witness may be required to pass in the ordinary course of travel, for any matters

     which arose before the Witness’s entrance into this State and other states, while

     traveling to and from this Court for the purpose of testifying for this case.
   Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 21 of 46




       9. The State of Georgia is a participant in a reciprocal program providing for the

           securing ofwitncsses to testify in foreign jurisdictions which likewise provide for

           such methods of securing witnesses to testify in their courts.

       It). This Certiﬁcate is made for the purpose of being presented to ajudge ot‘the South

           Carolina Tenth Circuit Court of General Sessions, by the Tenth Judicial Circuit

           Solicitor or his duly authorized representative, who is proceeding at the request and

           on behalfot'the Ofﬁce of the Fulton County District Attorney to compel the Witness

           to be in attendance and testify before the Special Purpose Grand Jury on July l2,


           2022, and continuing through and until the conclusion of. the \X’itncss’s testimony on

           or before August 31, 2022, at the Superior Court ofl’ulton County, ‘l’ulton County

           Courthouse, 136 Pryor Street, 3rd Floor, Atlanta, Georgia 30303. This Certificate

           may also be presented to a judge of the South Carolina Tenth Circuit Court of

           General Sessions by the Fulton County District Attorney’s Ofﬁce.

       WITNESS MY MAN!) AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,
                     5   t     my
       This the wt       day Ofﬂine, 2022.                               ”WWW




                                                                         If FM \ixﬁwr”\t
                                                                            .
                                                                                     l


                                                  i\/   ........ .....
                                                               l
                                                 K,             t               t;       r’   g



                                                        .l-l'lon. Roh‘er} C. I. NféiitI/rney
                                                        Superior Court of Fulton County
                                                        Atlanta Judicial Circuit
                                                        State of Georgia
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 22 of 46




                     Exhibit A
   Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 23 of 46




                                                                    75::
                                  ,,
                                       ,,._._.._.              ’_wu-4-v~w
                                                                     .    -‘m4~r\.wﬁ                                              a“
                                                                                                                                                                            ,w    a—‘ﬂumv-ﬁww ‘y
                                                           .                 .                                                              "u..-"
                                                                                 2          2
                                                                                                                                                                  m)...




                                                                                                                                                                                                .32 22 -333 3:32

                                                                                                                                                                    2.3/3%                             “[2333 OFF Etc
                                                                                                                                                                                                                    22373222

 E33 3333:     REQEEEﬁT 23332.                                                                                                                                                    g    LN;                      24
               33’EC3A3‘3 333323332331
                                                                                                                                                                                                                              m..-




               GW@ 333235                                                                                                                                                          5: BE}
                                                                                                                                                                                           2.

                                                                                                                                                                                                      Jf‘d                             "I"; ?
                                                                                                                                                                                                       SEKS 0 J0 ~o
                                                                                                                                                                                                  MN      CUHN  Ga
                                                                                                                                                                                                              ... 7......»   -w
                                                                                                                                                                                                                                  2.



                       3332.33...» AFIP'RQ 3733333                                                  3333331323                                              3?.23233332 3BRP®SE
                                                                                                                                                                                                                                  9'




                                                                                                                                   33333232
                             2.           ,x.2                 22
                                                               m
                                                                         .                  ,r~
                                                                                                3323?
                                                                                                   3:                                  ..            .,..                 ‘..,’“;,_.“.33 ‘:i_            .w
                                                                                                                                                                                                         g.


             The 133533393: Attorney fer the Atlanta 311523631231 Circuit submitted to the.
                                                                                                                                                                                                      judges of the
                             ,(                     W                                                                             ‘
   U4“
                                                                                                                                                             ‘3
                                                                    .1                  2
                                                                                                                   A                        I»;




                                                                                                                                                                                                                                                1 f
                                                                                                                                                                                                                                        (L
                                                                                                                                                                                                                                              (2;
                                                                                                                                                                                                                                         tn

                                                                                                                                                                                                                                              LI
 {9:211 in 112;; 2;guu;'..        "fig; 301112;".                                    .:~‘       amps?    :3    :2
                                                                                                                                                                                                                              3.1


 number of ihe judges ofthis Court, as requér
                                                                                                        ed by 0.00.13. §35~32~100(b).

             {T {S THEREFORE ORDERED that 3 39303231 purpq
                                                                                                                                                            se grand jury be dawn and

imyaneled to serve as providedIn DC, C;                                                           A 3 2:2 .2;322.2,                                   22            ‘22 67, 23113335 12466, to

commence2.2522}2;, 2022, 5.;;.L 22.52.23-.. 5..                                                                ..      92:21-2; .2 2: ;;;;d' 2.5.2.3345 Sucr.;23nod                   .-




shall not include any time perioés when the
                                                                                                    supervising judge 6636117531163 that the: special

guvgngfyw.ppm".--m: 122.”,33.2....
    /
                             15°T      3’-.” 1
                   Mt.

                                                                                                                                                                      '3. L’23m: yemdmf
                                   1352                                                                                                     n                                       .. ..         '
                                                    m...

                                                                                                                                2,2.
                                                                                                                                                                                          cms
                                                                                                         x21       n-..m~.2.~
                                                                                                                                                             2

                                                                                                                                                                                                                                        2‘:

cont”: Operations are suspended by Order of 3338
                                                                                                          Supreme Cam": of Georgia or the Chief Judge of

the Sﬁperior Caurt. The speciai 1311113038 grant?
                                                  jury 513311338 authctized                                                                                                                 to investigate any and all
       M4
{3'22w and ci.m..
               ”uhnwn
                  -»~....-es relating directi" er £1332.                                                                             x
                                                                                                                   cctiy {c allcgeﬁ 21013..                                                           Lugs3"3.3335   1.? -
                                                                                                              1»
                                                                                                                                                ~                                                             v
                                                                                                                                                                                                                   Cu. the
                                                                                                                                                                                                      r:
                                                                                                                                                                                      .




                                                                                                                                            2';
                                                                                                                                                                                              )




                                                    ’
                                                                                                                                                                                            ’5




51411;;   afﬁggggg 23.; :38? f3): 1: ‘1: 737:2“? ff“.- Ui‘tiz'ﬁf ,i??3,,;-23;~.».                                                                                            3'
                                                                                                                                                                                  2432;321:2231Inc-«:3; 9.33933

            93:33:53 3') 3‘. C G. A. {E 331-1 74 0% {'3}; 3’29 ”02303723312 2.731297% 3.“. T.
                                                                                                                                                                                                32363311333”? hereby

assigncd {0 supervise and assist: the special purpose grand jury, and shall
                                                                                                                                                                                                charge said syeciai

pill-"CS? gn”d1hr}! «3nd rwcpgue jfg :fennrn‘q 5m; army(-192333:; 352w
 Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 24 of 46




            Thés authorization shah inciuda the irwagaigazion of any overt acts or
                                                                                                                                          predicate acts

                  .
l‘vlilxli‘c:.‘ .‘sj ;.‘..1.14.3
                          .

                              ,--
                                        _ :7
                                        V,.V
                                               ,.
                                                    1:
                                                         V-.. 3.} ‘ '? m7’
                                                            «NW1      g.        Mm”!   '   a“ 5,. ,
                                                                                           7'14         .. ~41“. Li” M - "‘
                                                                                                           *

                                                                                                    ’; .C‘s-L   ”um", k‘zsxli-‘jS-B.              i   1‘13    F     :
                                                                                                                                                              I'LTC’CQﬁ


sgsgggsgsg!:.gggg                   V


                                        g sacks: g1                 Prr*-‘1.T"“H~~"““'F
                                                                                           *
                                                                                               if :wrw'j
                                                                                                    :t         ~
                                                                                                                    ~s: V-“:1   sssz
                                                                                                                                *4   ‘"
                                                                                                                                          0 ”a §§ L ,
                                                                                                                                             I" 1;.                 t... 12


71 and 1542401, may make recmmneadaﬁonss mamm
                                                                                                          ing cgiminal prosecution as it shall see

ﬁt. Furthamwze, the: provisions of O.C.G.AV {is 35—12%} shat:
                                                                                                                   agply.

                                                                                                                                                             73



time, efforts, and a‘ztention of the regular grand ins/ﬂies) impassaleé in this Circuit to centinue
                                                                                                                                                                          :0

be devoted m the consideratiqn 0f the backiog 0f criminal maiters that has accmnuiated
                                                                                                                                                                  as a

result of the COVID—l 9 Pandemic.

       IT 3 FUR :33? Chmpiﬂp  ”“3 ’1?”“T53" F‘":” ‘5 “Ti 11 1‘eOwce ofthe Clerk of
                          x
                            i   \
                                  \\
the Superim Cour: UffLuﬂ
                  “                                                  éﬁ:


                                                                              \\
           30 020131?WE?
                       TEAS                         ccjg
                                                     23 j\{37
                                                                1
                                                                                "X
                                                                                                      \
                                                                                                                                     2022.
                                                       2‘ \                                      .

                                                                                                     \.



                                                     CHRISTOPHER; s. BRASHER‘WIEF JUDGE
                                                     Supsmr Court of Fulton Comfy
                                                     Atlanta Judiciai Circuit
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 25 of 46




                        Exhibﬁ B
       Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 26 of 46




                       QEEZCE OF THE. FULYON CGUN'é—Y QESTRICT ATTORNEY

                                       -   W    :,-Mw'm   u   ,      . “VOR
       773/");                          mm rm
                                            .2” :3“
            a:
                                                                       m
                                                                  3838;)
 :7”! QM
“MY'W                                               .§f€RGln                       TELEPHONE éOé~612-4639
Distzirx Ame may



                                                                                            - EX »
     Th3 Hanorablal Ghrismplm‘ S- Brasher                                       2, [72 z              030017
     Chief wage, Fulton flaunt}; Superior Court                                    FELED 3N QFFlCE
     Fulton County Cauﬁhouse
     385 Capi
             tal Avenue: SW, Suita ”1.18905
    Atlanta, Georgia 30303
                                                                                   DEPUTYcam?“  a
                                                                               E        Burrow couww GA
    January 20, 2022

    Dear Chief Judge Brasher:

    I hope, this law: ﬁnds 3201: well and in
                                             good Spirits. Meme be advised that the Disiﬁct
    Ofﬁce has received informaticn indicating a reasonable                                     Attorney’s
                                                               .pmbabﬁity thatthe 8mm of Georgia’s
    adnﬁzﬁstration of elections in 2920,
                                          including the: State’s election of the President of the United
    States, was subject to possible crimmai dismgztians Our, ofﬁce has also learn
                                                                                     ed that individuals
    associateé with these dismptions have cantacﬁm o’ilzer
                                                              agendas empowered to investigate this
    ma‘tex, inclucling the Georgia Secretary of Siam, the
                                                            (Beagle. Attorney General and the United
    States Aﬁomeyis Office for the North
                                            em District af'Geargia, leaving this ofﬁce as the: sale
                                                                                                          >




   agency with jurisdiction that is not a poiential witrzess {a cenduct related to the
                                                                                       matter. As a
   result, our ofﬁce has opened an invesﬁgatisn 5mg any cooréinated
                                                                          aﬁempts to unlawfully alter
   the. outccme' of the 2020 elections in this siate..


   Wehave made efforts to inierview mult
                                             iple witnesses and gather evidence, and a signiﬁcan
   number of witnesses ané yrosp                                                                  t
                                    ective Wi‘ine ssm have reﬁmed to
                                                                     cooperate with the investigation
   absent a subpoena :equiring their testim
                                             ony. By way of examgle, Georgia Secretary of State
   Brad Raffensperger, an essential. witness to the
                                                     investigationﬁxas indicated that he will not
   participate'in an interview or otharwisa offer evidence until he is
                                                                       presentad with a subpoena by
   my oﬁce. Flease seeﬁxhibit A, attached to this latter.

   Therefore, I am hereby requesting, as the: elecied District
                                                                Aﬁomey for Fultsn County, pursuant
      O.C.G.IA. § 1542-100 et. seq, that a Special purpose grand 3112'}! be impaneled for the
   to
   Qf                                                                                            purpose
      investigaémg the facts and circumstances reiaﬁng diractly m‘ izzdizectly t0 pass
                                                                                        ible attem pts to
  disrupt the law/ﬁll administration of the .2020 elections in “the Sisata
                                                                           of Georgia Speciﬁcally,a
  special pmposeg   Wan
                      ' djury, Wluch will net have the amhnz‘iiy i0 remm an indiciment but
  make recommendations concernin crim                                                            may
                                      g       nal pzosacution as it shall see ﬁt,3.8 needed for
  reasons: 33:52, a specialpurpos grand                                                         three
                                  e       jury can be impanaleé by the Court for any time
  required in order to accomplish its invssﬁgaté                                               period
                                                  sn, which will Ella-:13; exceed a namal
                                                                                           granéjury‘
        Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 27 of 46




    tam; secondz the spacial purpose granﬁjury maid be
                                                             empowered 19 review thiszmatter and this
    matter only, with an investi
                                 gaiary fecus app‘mﬁfiﬁiﬁ to the wmp
    circtmxstances invsivad; and mini the                            iexity'of the facts and
                                        ,    skiing giand éury wwki mat, bf: required 10
    addreﬁs {1113 maﬁa: in addition to their                                             aﬁempt to
                                             normal duties,

    Additisnaiiy, E m: zaquasting 11m1:
                                          13313112111110 1:)   C G A § 3:3 12 101 a Fulton County
   Cour”: Judge be assignsci to assist ami                                                          Superior
                                             supewise the 3pecia1 pumwe grand
   11h  Vaugauvﬁ{111:3guns)»;                                                       jury in carrymg cut its



   of the Cam:



 \R\e:pectfu1§\y,
                     11.22%
 “ﬁistrict Attimey, Atiama Judicial Circuit

  Exhibit A: Transcript ofOctober
                                  321. 2921episode: ofMee: the Pram on NBC NEWS
  (video archived at httpsz/iww.yc                                              3.26204
                                   utube.comfwaich?v=}371cBRPgtQk}
  Exhibit B: Propcscd. Order

  cc:
  The Honorable Mbeﬂy M. Eamond Adam
                                     s
  The Honorabie Kane C. Barw
                              ick
  TheHonorable Rachelle Camazsdaie
  The Honorable ”mamas A.
                            Cox, Jr.
 The Honorabie Eric Dun
                         away
 The Honorable Charles: M. Eato Jr.
                                n,
 The Honorable Belinda E. Eéwards
 The Honmrabie Kali}! Lee Ellerbe
 The Honorable: Kevin M; Fame:
The Honorable Ufa} Gianvﬂle
The Honorable Shakuza L.
                           lngram
The Honorable Racks? R. Krause
The HonorableMelynee
                        Leﬁridge-
The Honorable Rabat: (3.1.
                            MsBumey
The Honorébie Remy M. Newkirk
The Honorable Emiiyvié. Richardson
The Honoréble Craig L.
                       Schwall, Sr.
The Houarzible Paig Reese Whitaker
                   e
The Honorable Shermeia I. Wﬁii
                               ams.
              r“
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 28 of 46




              EXHIBIT 3
     Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 29 of 46




                                                                                                                          l
                                          ‘
                          IN 'I'I'EIE SUPIZRSUR COURT ()F F U UPON COUNT”                                                                               ..


                                                                                                                                                                    i
                                                                                                                         m1§a11111 1:11:1111:13
                                                         STATE OF (3150RGIA                                          ‘
                                                                                                                                    .    W.      M..-         i
                                                                                                                                                                  {"1
                                                                                                                            1.1.7.711"715‘11                        3

                                                                                                                     a                  Main-MW..-            5     3




IN RE:                                                                                                              L        11.11.1131“ 13131.11}?
                                                                                                                                                  :1. {.111
                                                                                                                                                                   §

SPECIAL PUIkE’OSE GRAND JURY                                                        2022-1911-030024

                                                                                    Judge Robert C. l. McBumcy




                                                                       WVV’VV
               PETITIQN FUR CERT} FlCA’l‘lON OF NEED FOR TESTIMONY
                      BEFiﬂlE SWECiAL PURPOSE}? GRAND JURY
                   PURﬁUANl’ T0 (LCALA. ().(Z.(§.A. § 2443-90 ET SEQ.


         COMES NOW the State ochorgia, by and through Paul '1‘. Willis, District Attorney.

P111412133111119131   (1131111 1 11211.111‘.1;111111 411:1: 21:1,111.111911111111:1l::xll11111‘:1‘;131lc(111111111111


C-11.1111111‘ 111“."11:11 1111 11311111111158.1111. Q1.1‘?1ll’11p1~. (“1111111111111 11111. 1:11111111('l(/"(1 "                                  §

24-13-92 ct 51:11.. and in support 1hcrcol‘says as follows:

         1.   A bpcumi 1’ urpwo                11112111111
                                                             .1111); 11111:;11132111011     commuted 111 11111111111401.1113. 111111111121,

              l1; 111‘1’1t1'11f1h1's 91.11111 1111 31.111 T7, .7033. $1111 Order l1:1p:111ol1'.1g 911011211 P1111111 11111111


              Jury 13111111112111 111 ('3.(".G.x\. § 15771:? 11111,                 P371
                                                                                           912:1,   “Exhihii‘ A”. The gyeelsl Purpose

              01:11:11 .1111“); 1.1131111111117011 111 imcsﬁgﬂ.‘ 11:1; 111111 all 11111:; r1111! c11‘1:;1111~:1.11:1‘cs: 11.431111};


              (l'lYCL‘ll_§’ 111' 11111111111)     111
                                                        1115311111: 1111131111151111111111111 {he 111115.11 1111:111111311'aii1111 1:513:13


              21:0 1:112:1311215 111 1111: $1ch 115‘C2c111‘g111.5‘..1 Letter Requcsting Spu‘ial 1'“ 1111112113 (71 11111

              Jury, "iixhibii B”.

         2.   1.1111215123101111   Graham, born
                                                                                “
                                                                                    , 'hcrcinaﬁcr, “11w Witness”) is a necessary
              and material witness to 1119 Special Purpose (131211111 Jury investigaticm. 'I‘hmugh both


              i15;111\1.:;.;.;.;;:11.;11 .11   G11:11‘“L2!“11publiclg. ...;;11'.1l;l.‘ 11l1>1111z1111111 111. §1z11c
                                                             11                                                            2111:.   1.4‘11‘1131111131



                                                     1111:114111111111,‘ 1.11115. 11.: (3:01.51; Seaway}
              11169111119115 11111.10 .11 19.1.; 1111.1                                                  1.1?              Sim {3-1111
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 30 of 46




        litti'ileitzitetgcr and members of his :tnl‘fin the; neck [dinning the November 3020

        election in Georgia, During the telephone calls, the Witness questioned Secretary

        Rnl‘fcnsperger and his stal’fahout reexmnining certain absentee haiiots cast in Georgia

        in order to explore the possiblity of a more l‘avombie outcome For thinner President

        Dnnnln 'l‘runtp, The Witness also made reference to allegations of widespread voter

        timid in. the November 2020 election in Georgia, consistent with public statements

        made it}; lunmn ni‘i‘iliaies “tithe hump tLntnpnign.

        'l'he Witness, based on the substnnee and timing ofthe' telephone calls he personally

        made to Georgia. Secretary of State Brad Rnft’ensperger, is a necessary and material

        witness in this investigation. The Witness possesses unique knowledge concerning

        the substance of the telephone calls, the circumstances surrounding; his; decision to

        make the teiephone calls, the logistics of netting up the telephone calls, and any

        communications between himself, others involved in the planning and execution of

        the telephone calls, the 'i‘ntmp Campaign, and other known and unknown individuals

        involved in the multi—stntc, coordinated efforts to inﬂuence the results: nt'tho

        November 2020 election in Georgia and elsewhere. l’i‘iimlly, the Witness’s anticipated

        testimony is essential in that it is likely to reveal additional snnrces of intormation

        regarding; the subject o‘fthis investigation.

        The testimony of the Witness will not he cumulative ol'nny other evidence in this

        matter.

        “the Witness resides outside the inrigdiction of this Ivlonorzihle Court and is therefore

        unable to be served with prnecsx to compel attendance and testimony.

                      item». timuttl} ..;,.
                                                                           El: Viki? ‘
                                               .':
  lv.   lflL.   2‘.                     tenths it».   ..
   Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 31 of 46




       7.   The Witness will be required to be in attendance and testify before the Special

            Purpose Grand, Jury on July '12, 2022, and continuing through and until the

            conclusion of the Witness’s testimony on or helbre August 31, 2022.

       8.   "the Ofﬁce of the Fulton County District Attorney, in and for the State of Georgia,

            will pay all reasonable and necessary travel expenses and witness fees required to

            secure the Witness’s attendance and testimony, in accordance with the Uniform Act

            to Secure the Attendance ofWitncsscs from Without; a State in Criminal Proceedings.

            See ().C.G.A. §24—l 3-90 et seq.

       9.   If the Witness comes into the State of Georgia pursuant to this request, directing the

            Witness to attend and testify hetero the Special Purpose Grand Jury, the laws of this

            State shall give the Witness protection from arrest and from service of civil or

            criminal process. both within this State and in any other state through which the

            Witness may he required to pass in the ordinary course of travel, for any matters

            which arose before the Witness’s entrance into this State and other states.

       it). Both Georgia and South Carolina have adopted the Uniform Act to Secure the

            Attendance of Witnesses l‘rom Without a State in Criminal Proceedings. See

            O.C.G.A. § 24—13-90; SIX. Code Ann. §§ 19—9-10-130.

       WiﬁIEREFORE, the State of Georgia, by and through Fani 'I‘. Willis, District Attorney,
{titlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate ofNeed for testimony Before Special t’urposc Grand Jury, pursuant to ().C.G.A. § 24—

13-92 ct seq", certifying to the proper authorities in thejurisdietion in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required
    Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 32 of 46




for the above—referenced Special Purpose Grand Jury investigation, and the presence of thc

Witness will be needed for the number ol’days speciﬁed above,

       Respectfully submitted this the 29th day ol‘Junc, 20223

                                                    FANS T. ‘WILLIS
                                                    DISTRICT A3,"[‘0RNEY
                                                    A'I‘LAN'I‘A JUDICIAL CIRCUIT

                                                            f




                                                     m 13511751013955
                                                   Atlanta Judicial Circuit
                                                   136 Pryor Street Southwest
                                                   Third Floor
                                                   Atlanta, Georgia 30303
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 33 of 46




                     Exhibit A
  Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 34 of 46




                    EN THE SﬂFEMOR CGURT 0F FULTQN CGUNTY
                                      ATiANTA J UHiCﬁAL CIRCUIT
                                         STATE omoooom                                4409251         ”ER U308
                                                                 3W
                                                                      //U    ,   ﬂea)                 lN OFFICE                     3%

                                                                        {                                       g;
lN RE: REQUEST FOR                                                                          W: 21:              3                   ,
         swam, oomose                                                            ~~
                                                                                       3,       {£2
                                                                                                                    ~       l
         Gama) mm
                                                                                                                        .


                                                                                        h     ﬁam’suﬁﬁm
                                                                       1;.                  F UL”?      0.23                    3




                GRAND WY PURS 114%.?ng T0 0. C GA. 315-124“) at sea

        The District Attorney for the Atlanta Judicial Circuiz submitted to like
                                                                                            judges of the

Superior Court of Fulton County a request to impanel a Special purpose jury for the purposes. set

forth in that request. This request was considered and approved
                                                                      by a majoﬁty of the total

number ofthe judges of this Court, as required by 0.136 A. § 1542-1 00(1)).

        {T [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve 35 provided in O.C.G.A. § 15-12—621, l5~13-67, and 15-12~100,l:o

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such
                                                                                   period

shall not include anytime periods when the supewising judge detezmines that the
                                                                                                      special

purpose grand jury cannot meet for safety or other reasons, or anytime periods when normal

court operations are suspended by order of the Supreme Court of
                                                                      Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized. to
                                                                                       investigate any and all

facts anti cirumstmcesr Eating 3:36:13” 01 indirectly to axegod onlaiions of the laws of the

Si3te ()qu033E? BC: “3* ‘5‘“3’3‘": ll“? "may? of” f“: D£1111 ‘i211; rciozonoco herein aoovo
                                ‘”‘




       Foreman? to (‘l   CGA‘ f} lS—“é TM 0? (a) if“: ”Wrmllc 312:5: C. I. ElioBumey is hereby

assigned to supervise and assiet the special purpose grand jury, and shall charge said special

purpose grand jury and receive its reports as provided by law.
  Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 35 of 46




        This auﬂwrization shall include if): investigation Of an}; overt acts or predicate acts

reiating to the subject of the: special purpose grand jury’s investigative puxpose. The special

purpose grand jury, when making its presentments anti reports: pursuant to O.C.G.A. §§ 15—12-

”?I and 1542401, may make recommendations concerning criminai
                                                                                            prosecution as it shad} see

ﬁt. Furthenmre, the provisions of" Q.C.G.A. § 15~12—83 shall
                                                                                   apply.

       This (hurt 21130 notes that the appointment of a special purpose grand jury wﬂi permi: the

time, efforts, and attention of the regu1a1: grand juryﬂes) impaneled in this Circuit to continue to

be: éavoted to the: consideration of the backiog of criminal} {mixers that has accumulated
                                                                                                                as a

team}: of the COVID-IQ Fandemic,


       IT IS FURTHER OR ERRD that this Order shall be, ﬂied in the Ofﬁce of the Clerk of
                                                    \
the Suyerior Court of Fulto                                 \\
                                   I
                                            g

                                                    ‘        “X
       SO ORDERED, TH Conga
                              \OF
                                  “(1‘3 mdw                                                    2022.
                           {A

                                 \ \
                                                                      \
                                                                              \3
                                                «


                                                                  '
                                                                               »
                                                                      §




                                                                  /i
                                       .,
                                                                          I
                                                        ,


                               CHRISTOETHER s. BRASHERESHIEF IUDGE
                               Superior Court of Fulmn County
                               Atlanta judicial Circuit
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 36 of 46
        Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 37 of 46




                        orsrce os rue sucrou COUNTY comer ATTORNEY
                                    ATLANTA jUDlClAL cmeuzr
                                 135 euros, STREET so: auo FLQOR
M -                                     Helium, GEORGIA 38303
ooze-fﬂu
       1,,
                                                       ,,
                                                                                        ,
                                                                                 TELEPHONE 4946324539
District Azzomey




                                                                               Z 02 Z - t X 0000/ f"/
                                                                                             "       _.
                                                                                                            '




     Tire Honorable Christopher S. Brasher
     Chief Judge, Fulton County Suggerior Court                                  Fit—ED lN OFHCE
     Fulton County Courthouse
     185 Central Avenue SW, Suite T-8905                                                    $0,232
                    ‘    ’7
    Atlanta, Georgia 30.303
                              n
                                                                                      {1i
                                                                                ospuw CLERK   euro   oar
                                                                                    FULTON coumr. GA

    January 20, 2022

    Dear Chief Judge Brasher:

    i hope this letter finds you well and in good spirits. Please be advised that the District
                                                                                               Attorney’s
     Ofﬁce has received information indicating a reasonable
                                                               probability that the State of Georgia’s
     administrailou of elections in 2020, including the State’s eleciiou of the President of
                                                                                              the United
     States, was subject to possible criminal disruptions. Our ofﬁce has also learned that individuals
    associated with these disruptions have cori’taceecl other
                                                              agencies empowered to investigate this
    matter, including the Georgia Secretary of State, the Georgia Attorney
                                                                              General, and the United
    States Attomey’s Office for theNorihem District of
                                                           Georgia, leaving  this office as {he sole
    agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
    result, our ofﬁce has opened an investigation into any coordinated
                                                                         auempte to unlawfully alter
    the outcome ofthe 2020 elections in this state.


    We have made efforts to interview multiple witnesses and
                                                                gather evidence, and a signiﬁcant
   number of witnesses and prospective witnesses have refused. to
                                                                     cooperate with the investigation
   absent a subpoena requiring their testimony. By way of
                                                             example, Georgia Secretary of State
   Brad Raffensperger, an essential wimess to ihe
                                                    layestigaeion, has indicated that he will not
   participate in an interview or otherwise offer evidence until he is presented with a
                                                                                        subpoena by
   my office. Please see Exhibit A, attached to this letter.

   Therefore, i am hereby requesting, as the elected District Attorney for Fulton
                                                                                    County, pursuant
   to QCGA. § 15-124 00 et. seq, that a special
                                                    purpose graodjury ’oe impaneled for the purpose
   of investigaiiug the facts and Circumstances relating directly or
                                                                     indirectly to possible attempts io
   disrupt the lauﬁil administration of the 2020 elections in the Slate of Georgia.               a
                                                                                      Speciﬁcally,
   special purpose grandjury, which will not have “the auiliority to return an indictment but
                                                                                                 may
   make recommendations concerning criminal prosecution as it shall see
                                                                             fit, is needed for three
   reasons: ﬁrsi, a special purpose grand jury can be
                                                        mipaueled by the Court. for any time period
   required in order co accomplish i ts investigation, which will likely exceed a normal
                                                                                           grand jury
          Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 38 of 46




     term; second, the special purpose grand
                                                 jury would be empowered to review this matter and this
     matter only, with an, investigat
                                      ory focus appropriate to the complexity of the facts and
     circumstances involved; and third, the
                                               sitting grand jury would not be required to
     addreris this matter in addition to their norm                                        attempt to
                                                     al duties.

     Additionally, I am requesting that, pursuant to O.C.G.A.
                                                               § 13-22-101, :1 Fulton Coun
     Court Judge be assigned to assist and                                                  ty Superior
                                           supervise the special purpose grand jury. in
     investigation and duties.                                                          carrying out its


     I have attached a prop
                           osed order impaneling the Special purpose
     of the Court.                                                     grand jury for the consideration
                  X



         aspect   Y
                  X




    F ani Willi
\“D‘lstrict Attorney, Atlanta Judicial Circuit

    Exhibit A: Transcript'of October 31, 2021
                                           episocle of Meet the Press on NBC News at 26:0
    (video archived at hllsz/mvaoulobe.coo                                               4
                                           ﬁwarchhmm l cBRPgt9l<)
    Exhibit B: Proposed Order

   cc:
    "The Honorable Kimb
                        erly M. Esmond Adams
    The Honorable Jane C. BaIWiclc
    The Honorable Rachelle Camesdale
   The Honorable Thomas A. Cox, Jr.
   The Honorable Eric Duna
                            way
   The Honorable Charles M. Eaton, Jr.
   The Honorable Belinda E. Edwards
   The Honorable Kelly Lee Ellerbe
   The Honorable Kevin M. Fanner
  The Honorable Ural Glanville
  The Honorable Shakura L.
                             Ingram
  The Honorable Rachel R. Krause
  The Honorable Melynee Leﬁr
                               idge
  The Honorable Robert Cl.
                             McBumey
  The Honorable Henry M. Newkirk
 The Honorable Emily K. Richardson
 The Honorable Craig L. Schw
                               all, Sr.
 The Honorable Paige Reese Whitaker
 The Honoraole Shermela J. Williams
                                                  .

 Fulton County Clerk of
                        Superior Court Cathelene “Tina" Robinson
Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 39 of 46




              EXHIBIT 4
                   Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 40 of 46
7/23/22, 3:25 PM                                                            re:SearanA— EX PARTE: CHRISTOPHER BRASHER 2022-Ex—ooooz4


   https://researchga.tylerhost.net/CounRecordsSearch/ViewCasePrint/CG1b637452b658a9936fa1e583a20069

    Case Information
    EX PARTE: CHRISTOPHER BRASHER
    2022-EX—000024
    Location                                       Case Category                                    Case Type                             Case Filed Date
    Fulton - Superior Court                        Civil                                            SESGJ                                 1/24/2022

    Case Stalus
    Closed (Closed)



    Parties E
    Type                                 Name                                                      Allomeys

    EX PARTE                             CHRISTOPHER BRASHER


    Events
    Date              Event              Type                                 Commems                             Ducumenls

    1/24/2022         Filing             ADMINISTRATIVE CLOSURE                                                   No Documents
                                         OF CASE PER EX—PARTE
                                         ORDER
    1/24/2022         Filing             SORDOTJ                              ORDER APPROVING                     EX PARTE ORDER OF THE JUDGE.pdf
                                                                              REQUEST FOR SPECIAL
                                                                              PURPOSE GRAND JURY
    5/25/2022         Filing             SXPET                                PETITION FOR                        EX PARTE PETITION.pdf
                                                                              CERTIFICATION OF NEED
                                                                              FOR TESTIMONY BEFORE
                                                                              SPECIAL PURPOSE GRAND
                                                                              JURY PURSUANT TO OCGA
                                                                              24-13-90 ET SEQ.

    5/25/2022         Filing             SORDOTJ                              CERTIFICATE OF MATERIAL EX PARTE ORDER OF THE JUDGEpdf
                                                                              WITNESS PURSUANT TO
                                                                              UNIFORM ACT TO SECURE
                                                                              THE ATTENDANCE OF
                                                                              WITNESSES FROM
                                                                              WITHOUT THE STATE,
                                                                              CODIFIED IN THE STATE OF
                                                                              GEORGIA AS OCGA 24-13-90
                                                                              ET SEQ
                                                                                                              i


    6/27/2022         Filing             SXEF                                  MOTION TO QUASH                    EX PARTE FlLING.pdf
                                                                               SUBPOENAS
    6/28/2022         Filing             SORDOTJ                               RULE 22 ORDER-APPROVED EX PARTE ORDER OF THE JUDGE.pdf
                                                                               AJC PHOTOGRAPHER
    6/29/2022         Filing             SORDOTJ                               RULE 22 ORDER-                     EX PARTE ORDER OF THE JUDGE.pdf
                                                                               APPROVED; CNN
                                                                               PRODUCER DEVON
                                                                               SAYERS; CNN
                                                                               PHOTJOURNALIST (TBD)                                                         I;


    6/30/2022         Filing             SORDOTJ                               RULE 22 ORDER-                     EX PARTE ORDER OF THE JUDGE.pdf           II


                                                                               APPROVED; THE                                                                :3


                                                                               ASSOCIATED PRESS KATE
                                                                               BRUMBACK

     6/30/2022        Filing             SORDOTJ                               RULE 22 ORDER-                     EX PARTE ORDER OF THE JUDGEpdf
                                                                               APPROVED; WSB-TV NEWS
                                                                               REPORTER AND
                                                                               PHOTOJOURNALIST AND
                                                                               SANDRA PARRISH, WSB
                                                                               RADIO

     6/30/2022        Filing             SXEF                                  STATE'S RESPONSE TO                EX PARTE FlLING.pdf
                                                                               MOTION TO QUASH

     7/1/2022         Filing             SORDOTJ                               RULE 22 ORDER-                     EX PARTE ORDER OF THE JUDGEpdf
                                                                               APPROVED; WXIA




                                                                                                                                                                 1/5
ht!ps://researchga.tylemasl,net/CounRecordsSeamh/#IlcasePrinMew/061b637452bc58a99361315583a20069
                       Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 41 of 46
7/28/22. 3:25 PM                                                           rE:SEErChGA - EX PARTE: CHRISTOPHER BRASHER 2022-EX-000024


    Date                Event            Type                                Comments                          Documents




    7/1/2022            Filing           SXEF                                MOTION TO CONTINUE                EX PARTE FlLlNG.pdf
                                                                             SPECIAL PURPOSE GRAND
                                                                             JURY APPEARANCE OF
                                                                             WILLIAM LIGON T0
                                                                             ACCOMMODATE COUNSEL'S
                                                                             TRIAL SCHEDULE
    7/5/2022            Filing           SORDOTJ                             CERTIFICATE OF MATERIAL EX PARTE ORDER OF THE JUDGE.pdf
                                                                             WITNESS PURSUANT TO
                                                                             UNIFORM ACT TO SECURE
                                                                             THE ATTENDANCE OF
                                                                             WITNESSES FROM
                                                                             WITHOUT THE STATE,
                                                                             CODIFIED IN THE STATE OF
                                                                             GEORGIA AS OCGA 2413-90
                                                                             ET SEQ (CLETA
                                                                             DEATHERAGE MITCHELL)
    7/5/2022            Filing           SORDOTJ                             CERTIFICATE OF MATERIAL EX PARTE ORDER OF THE JUDGEpdf
                                                                             WITNESS PURSUANT TO
                                                                             UNIFORM ACT TO SECURE
                                                                             THE ATTENDANCE OF
                                                                             WITNESSES FROM
                                                                             WITHOUT THE STATE,
                                                                             CODIFIED IN THE STATE OF
                                                                             GEORGIA AS OCGA 24-13-90
                                                                             ET SEQ (JENNA ELLIS)
    7/5/2022            Filing           SXPET                               PETITION FOR                      EX PARTE PETITION.pdf
                                                                             CERTIFICATION 0F NEED
                                                                             FOR TESTIMONY BEFORE
                                                                             SPECIAL PURPOSE GRAND
                                                                             JURY PURSUANT To OCGA
                                                                             24—1390 ET SEQ (LINDSEY
                                                                             GRAHAM)
    7/5/2022            Filing           SXPET                               PETITION FOR                      EX PARTE PETITION.pdf
                                                                             CERTIFICATION OF NEED
                                                                             OR TESTIMONY BEFORE
                                                                             SPECIAL PURPOSE GRAND
                                                                             JURY PURSUANT TO OCGA
                                                                             24-13-90 ET SEQ (JACK!
                                                                             DEASON)
    7/5/2022            Filing           SXPET                               PETITION FOR                      EX PARTE PETITION.pdf
                                                                             CERTIFICATION OF NEED
                                                                             FOR TESTIMONY BEFORE
                                                                             SPECIAL PURPOSE GRAND
                                                                             JURY PURSUANT TO OCGA
                                                                             24-13-90 ET SEQ (RUDOLPH
                                                                             GIULIANI)
                   ‘

    7/5/2022            Filing           SXPET                               PETITION FOR                      EX PARTE PETITION.pdf
                                                                             CERTIFICATION OF NEED
                                                                             FOR TESTIMONY BEFORE
                                                                             SPECIAL PURPOSE GRAND
                                                                             JURY PURSUANT TO OCGA
                                                                             24-13-90 ET SEQ (JENNA
                                                                             ELLIS)
     7/5/2022           Filin'g          SXPET                               PETITION FOR                      EX PARTE PETITION.pdf
                                                                             CERTIFICATION OF NEED
                                                                             FOR TESTIMONY BEFORE
                                                                             SPECIAL PURPOSE GRAND
                                                                             JURY PURSUANT TO OCGA
                                                                             24-13-90 ET SEQ (CLETA
                                                                             DEATHERAGE MITCHELL)




                                                                       L
hnpszllresearchga.tylerhostnellcaunPF-             .imv’icm’w10637ﬁ‘          ”3318583320069                                            2/5
                     Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 42 of 46
7/28/2, 3:25 PM                                                             reZSearchGA - EX PARTE: CHRISTOPHER BRASHER 2022-EX-000024


    Date                 Event            Type                                Comments                          Documents




    7/5/2022             Filing           SORDOTJ                             CERTIFICATE OF MATERIAL EX PARTE ORDER OF THE JUDGE.pdf
                                                                              WITNESS PURSUANT TO
                                                                              UNIFORM ACT To SECURE
                                                                              THE ATTENDANCE OF
                                                                              WITNESSES FROM
                                                                              WITHOUT THE STATE,
                                                                              CODIFIED IN THE STATE OF
                                                                              GEORGIA AS OCGA 24—13-90
                                                                              ET SEQ (KENNETH
                                                                              CHESEBRO)
    7/5/2022             Filing           SXPET                               PETITION FOR                      EX PARTE PETITION.pdf
                                                                              CERTIFICATION OF NEED
                                                                              FOR TESTIMONY BEFORE
                                                                              SPECIAL PURPOSE GRAND
                                                                              JURY PURSUANT TO OCGA
                                                                              24-13—90 ET SEQ (KENNETH

                                                                               CHESEBRO)
    7/5/2022             Filing           SXP ET                              PETITION FOR                      EX PARTE PETITION.pdf
                                                                              CERTIFICATION OF NEED
                                                                              FOR TESTIMONY BEFORE
                                                                              SPECIAL PURPOSE GRAND
                                                                              JURY PURSUANT TO OCGA
                                                                              24-13-90 ET SEQ (JOHN
                                                                               EASTMAN)
    7/5/2022             Filing           SORDOTJ                             CERTIFICATE OF MATERIAL EX PARTE ORDER OF THE JUDGEpdf
                                                                              WITNESS PURSUANT TO
                                                                              UNIFORM ACT TO SECURE
                                                                              THE ATTENDANCE OF
                                                                              WITNESSES FROM
                                                                              WITHOUT THE STATE,
                                                                              CODIFIED IN THE STATE OF
                                                                              GEORGIA AS OCGA 24-13—90
                                                                              ET SEQ (RULDOLPH
                                                                               GIULIANI)

    7/5/2022             Filing           SORDOTJ                              CERTIFICATE OF MATERIAL EX PARTE ORDER OF THE JUDGE.pdf
                                                                               WITNESS PURSUANT TO
                                                                               UNIFORM ACT TO SECURE
                                                                               THE ATTENDANCE OF
                                                                               WITNESSES FROM
                                                                               WITHOUT THE STATE,
                                                                               CODIFIED IN THE STATE OF
                                                                               GEORGIA AS OCGA 24-13-90
                                                                               ET SEQ (LINDSEY GRAHAM)
    7/5/2022             Filing!          SORDOTJ                              CERTIFICATE OF MATERIAL EX PARTE ORDER OF THE JUDGEpdf
                                                                               WITNESS PURSUANT TO
                                                                               UNIFORM ACT TO SECURE
                                                                               THE ATTENDANCE OF
                                                                               WITNESSES FROM
                                                                               WITHOUT THE STATE,
                                                                               CODIFIED IN THE STATE OF
                                                                               GEORGIA AS OCGA 24—13-90
                                                                               ET SEQ (JACKI DEASON)

    7/5/2022              Filing          SORDOTJ                              CERTIFICATE OF MATERIAL EX PARTE ORDER OF THE JUDGE.pdf
                                                                               WITNESS PURSUANT To
                                                                               UNIFORM ACT TO SECURE
                                                                               THE ATTENDANCE OF
                                                                               WITNESSES FROM
                                                                               WITHOUT THE STATE,
                                                                               CODIFIED IN THE STATE OF
                                                                               GEORGIA AS OCGA 2413-90
                                                                               ET SEQ (JOHN EASTMAN)
     7/6/2022             Filing          SORDOTJ                              ORDER DENYING MOTION             EX PARTE ORDER OF THE JUDGEipdf
                                                                               TO QUASH

     7/6/2022             Filing          SORDOTJ                              ORDER DENYING MOTION             EX PARTE ORDER OF THE JUDGEpdf
                                                                               TO CONTINUE
                                             “       ". inIWew/ceib637452bc5839936fa112583320069                                                  3/5
hﬂpszllr          Iylnr’nosLnetlc “.1."          I
                       Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 43 of 46
7/28/22. 3:25 PM                                                             re:SearchGA - EX PARTE: CHRISTOPHER BRASHER 2022-EX-000024


    Date
                       ’
                           Even]
                                         ,
                                                                               Comments”
                                                                                                              "
                                                                                                                  Documents
                                                                                                                               "   "
                                             Type”




    7/11/2022              Filing            SXPET                             PETITION FOR                       EX PARTE PETITION.pdf
                                                                               CERTIFICATION OF NEED
                                                                               FOR TESTIMONY BEFORE
                                                                               SPECIAL PURPOSE GRAND
                                                                               JURY PURSUANT TO OCGA
                                                                               24—1390 ET SEQ (LINDSEY
                                                                               GRAHAM)
    7/11/2022              Filing            SORDOTJ                           CERTIFICATE OF MATERIAL EX PARTE ORDER OF THE JUDGEpdf
                                                                               WITNESS PURSUANT TO
                                                                               UNIFORM ACT TO SECURE
                                                                               THE ATTENDANCE OF
                                                                               WITNESSES FROM
                                                                               WITHOUT THE STATE,
                                                                               CODIFIED IN THE STATE OF
                                                                               GEORGIA AS OCGA 24-13430
                                                                               ET SEQ (LINDSEY GRAHAM)
    7/11/2022              Filing            SXEF                              RESPONSE TO DISTRICT     EX PARTE FILINGpdf
                                                                               ATTORNEY’S JULY 8, 2022.
                                                                               MEMORANDUM FOR THE
                                                                               COURT REGARDING GRAND
                                                                               JURY APPEARANCE OF
                                                                               WILLIAM LIGON

    7/15/2022              Filing            SXEF                              MOTION TO DISQUALIFY               EX PARTE FILING.pdf
                                                                               PROSECUTOR AND FOR
                                                                               OTHER RELIEF
     7/18/2022             Filing            SXEF                              NOTICE TO ADVERSE                  EX PARTE FILING.pdf
                                                                               PARTY OF REMOVAL TO
                                                                               FEDERAL COURT
                                                                               (CONGRESSMAN JODY
                                                                               HICE)
     7/19/2022             Filing            SXEF                              NOTICE OF HEARING: 21              EX PARTE FILING.pdf
                                                                               JULY 2022 AT 2PM
                                                                               COURTROOM 8-D

     7719/2022             Filing            SXEF                              OPPOSITION TO MOTION TO EX PARTE FILIN,G.pdf
                                                                               DISQUALIFY PROSECUTOR

     7/19/2022             Filing            SXEF                              MOTION TO QUASH AND                EX PARTE FILING.pdf
                                                                               DISQUALIFY (SUBPOENAS
                                                                               ISSUED TO: PRESIDENTIAL
                                                                               NOMINEE ELECTORS MARK
                                                                               AMICK, JOSEPH BRANNAN.
                                                                               BRAD CARVER, VIKKI
                                                                               CONSIGLIO. JOHN DOWNEY,
                                                                               CAROLYN FISH, KAY
                                                                               GODWIN. CATHY LATHAMx
                                                                               DAVID SHAFER, SHAWN
                                                                               STILL, CB YADAV)
     7/20/2022             Filing            SXR22                              REQUEST TO USE A       EX PARTE RULE 22.pdf
                                                                                RECORDING DEVICE
                                                                                PURSUANT TO RULE 22 ON
                                                                                RECORDING OF JUDICIAL
                                                                                PROCEEDINGS (APPROVED)
                                                                                NBC STAFF

     7/20/2022             Filing            SXR22                              REQUEST TO USE A        EX PARTE RULE 22.pdf
                                                                                RECORDING DEVICE
                                                                                PURSUANT TO RULE 22 ON
                                                                                RECORDING OF JUDICIAL
                                                                                PROCEEDINGS (APPROVED;
                                                                                SHALL NOT BE POOL FOR
                                                                                ITS MEDIA) CLAIRE SIMMS
                                                                                AND PHOTOGRAPHER




                   ‘   *    nPHCounPP-                 IIIIlI/IeW/wIb637452b65839936fa13583320069                                         4/5
llllpaJll
                     Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 44 of 46
7/28/22. 3:25 PM                                                             re:SearchGA - EX PARTE: CHRISTOPHER BRASHER 2022-EX-000024


    Date                Event             Type                                 Comments                          Documents




    7/20/2022           Filing            SXR22                                REQUEST TO USE A                  EX PARTE RULE 22.pdf
                                                                               RECORDING DEVICE
                                                                               PURSUANT TO RULE 22 ON
                                                                               RECORDING OF JUDICIAL
                                                                               PROCEEDINGS (APPROVED;
                                                                               SHALL NOT BE POOL FOR
                                                                               ITS MEDIA) TAMAR
                                                                               HALLERMAN AND AJC
                                                                               PHOTOGRAPHER
    7/20/2022           Filing            SXEF                                 NOTICE OF ORDER TO                EX PARTE FILING.pdf
                                                                               APPEAR AND TESTIFY
                                                                               BEFORE FULTON COUNTY
                                                                               SPGJ(RUDOLPH WILLIAM
                                                                               LOUS GUILIANI)

    7/20/2022           Filing            SXR22                                REQUEST TO USE A                  EX PARTE RULE 22.pdf
                                                                               RECORDING DEVICE
                                                                               PURSUANT TO RULE 22 ON
                                                                               RECORDING OF JUDICIAL
                                                                               PROCEEDINGS
    7/20/2022            Filing           SXR22                                REQUEST TO USE A        EX PARTE RULE 22.pdf
                                                                               RECORDING DEVICE
                                                                               PURSUANT TO RULE 22 ON
                                                                               RECORDING OF JUDICIAL
                                                                               PROCEEDINGS (APPROVED;
                                                                               SHALL NOT BE POOL FOR
                                                                               ITS MEDIA) CNN PRODUCER
                                                                               JASON MORRIS, CNN
                                                                               PHOTO JOURNALIST TBD

    7/20/2022            Filing            SXR22                               REQUEST TO USE A       EX PARTE RULE 22.pdf
                                                                               RECORDING DEVICE
                                                                               PURSUANT TO RULE 22 ON
                                                                               RECORDING OF JUDICIAL
                                                                               PROCEEDINGS (APPROVED;
                                                                               SHALL NOT BE POOL FOR
                                                                               ITS MEDIA) KATE
                                                                               BRUMBACK

     7/22/2022           Filing            SXEF                                SUPPLEMENTAL BRIEF IN             EX PARTE FILING.pdf
                                                                               SUPPORT OF MOTION TO
                                                                               DISQUALIFY PROSECUTOR

     7/25/2022           Filing            SORDOTJ                             ORDER DISQUALIFYING                EX PARTE FILING.pdf
                                                                               DISTRICT ATTORNEY'S
                                                                               OFFICE - AS TO SENATOR
                                                                               JONES ONLY
     7/25/2022           Filing            SXEF                                SUPPLEMENTAL BRIEF                 EX PARTE FILING.pdf
                                                                               OPPOSITION TO MOTION TO
                                                                               DISQUALIFY PROSECUTOR

     7/26/2022           Filing            SOR DOTJ                            ADDENDUM TO ORDER                  Ex PARTE ORDER 0F THE JUDGEpdf
                                                                               DISQUALIFYING DISTRICT
                                                                               ATTORNEY'S OFFICE


     © 2022 Tyler Technologies. inc. [All Rights Reserved
                                                                                                                                           was Simmm a?
     Vers.;:i.2012.&.d.ldlli
                                                                                                                                            a:     .




 htlps:l/researchgajylerhostnetlcw.u                   “f “’   ’"‘=1b63745      ““21 3583a20069                                                           5/5
                      Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 45 of 46

.1844 (Rev. 10/2020 NDGA)                                                    CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the ﬁling and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAIN TIFF(S)                                                                                     DEFENDANT(S)
        Fulton County Special Purpose Grand Jury                                                         Lindsey Graham




  (b) COUNTY 0F RESIDENCE 0F FIRST LISTED                                                               COUNTY 0F RESIDENCE 0F FIRST LISTED
        PLAINTIFF                     Fulton                                                            DEFENDANT       Oconee (SC)
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                         NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
                                                                                                         INVOLVED

  (C) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND
                 E-MAIL
                                                                                                         ATTORNEYS (Ir KNOWN)
                                           ADDRESS)

        Fani T. Willis                                                                                   Brian C. Lea
        Fulton County District Attorney’s Ofﬁce                                                          Jones Day
        136 Pryor Street                                                                                 1221 Peachtree Street N.E, Suite 400
        Atlanta, Georgia 30303                                                                           Atlanta, Georgia 30361
                                                                                                         Email: blea@jonesday.com / Telephone: (404) 521-3939

II. BASIS OF JURISDICTION                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES
     (PLACE AN “X” IN ONE BOX ONLY)                                                            (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                                  (FOR DIVERSITY CASES ONLY)
                                                                                   PLF                                                  PLF       DEF

D1 U.S. GOVERNMENT
     PLAINTIFF
                            .3 FEDERAL       QUESTION
                                   (U.S. GOVERNMENT NOT A PARTY)
                                                                              D        I       D1 CITIZEN 0F THIS STATE                D   4     D   4   INCORPORATED OR PRINCIPAL
                                                                                                                                                         PLACE 0F BUSINESS m THIS STATE
D2 U.S. GOVERNMENT          D4 DIVERSITY                                      D2               D2 CITIZEN OF ANOTHER STATED 5                    D5      MCORPORATED AND PRINCIPAL
     DEFENDANT                    (INDICATE CITIZENSHIP 0F PARTIES                                                                                       PLACE OF BUSINFES IN ANOTHER STATE
                                   IN ITEM III)
                                                                              D3               D3 CITIZEN OR SUBJECT 0F A
                                                                                                    FOREIGN COUNTRY
                                                                                                                                       D   6     D   6   FOREIGN NATION



IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
  D1 ORIGINAL
       PROCEEDING
                       .2 STATE
                            REMOVED FROM
                                COURT
                                                  REMANDED FROM D4 REEVSTATED OR US ANOTHER DISTRICI‘
                                                D3APPELLATE COURT  REOPENED
                                                                                                                TRANSFERRED FROM
                                                                                                                  (Specify District)
                                                                                                                                               D MULTIDISTRICI‘
                                                                                                                                                 LITIGATION -
                                                                                                                                                 6
                                                                                                                                                 TRANSFER
                                                                                                                                                                D APPEAL T0 DISTRICT JUDGE
                                                                                                                                                                  FROM MAGISTRATE JUDGE
                                                                                                                                                                     7
                                                                                                                                                                  JUDGMENT

       MULTIDISTRICI‘
     8 LITIGATION -
       DIRECI‘ FILE

V. CAUSE OF ACTIONJURISDICTIONAL
                   (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                    STATUTES UNLESS                                    DIVERSITY)
     Removal of witness subpoena on US. Senator under federal officer removal statute, 28 U.S.C. § 1442.




(IF COMPLEX, CHECK REASON BELOW)
   El 1. Unusually large number of parties.                                            I] 6. Problems locating or preserving evidence
   El 2. Unusually large number of claims or defenses.                                 D 7. Pending parallel investigations or actions by government.
   I] 3. Factual issues are exceptionally complex                                      D 8. Multiple use of experts.
   I] 4. Greater than normal volume of evidence.                                       I] 9. Need for discovery outside United States boundaries.
   U 5. Extended discovery period is needed.                                           D0. Existence of highly technical issues and proof.

                                                                             CONTINUED ON REVERSE
FOR omcr: USE ONLY                                                                 .                                              .
                                                                     ,
                                                                                           '


macaw“:                             AMOUNTS                                                                                            MAG. JUDGE (rm
                             '
                                                                         .
                                                                                               APPLYINGIFP

maxim                               MAG.
                                                      (Referral)
                                                                               /
                                                                                               NATURE or surr                          CAUSE or ACTION
                         Case 1:23-cv-03721-SCJ Document 1-57 Filed 08/21/23 Page 46 of 46


VI. NATURE 0F SUIT (PLACE AN “X" IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK             CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK                          SOCIAL SECURITY - "0" MONTHS DISCOVERY
   D 150 RECOVERY OF OVERPAYMENT &                               440 OTPER CIVH. RIGHTS                              TRAc g
             ENFORCEWNT OF JUDGMENT
   D 152 RECOVERY 0F DEFAULTED STUDENT
                                                                 441 VOTING
                                                                 442 EMPLOYMENT
                                                                                                                         E    261 111A (13953)
                                                                                                                              862 BLACK LUNG (923)
            LOANS (Excl‘ Veterans)                               443 HOUSING/ ACCOMMODATIONS                                  853 Dlwc (405(g))
        153 RECOVERY 0F OVERPAYMENT OF                           445 AMERICANS with DISABILITIES - Employment                 863 D1ww (405(9)
            VETERANS BENEFITS                            -       446 AMERICANS with DISABILITES - Other                  D    864 SSID TTI'LE XVI

CONTRACT - "4" MONTHS DISCOVERY TRACK
                                                     D           448 EDUCAHON                                            E    865 RSI (405(g»

        110 INSURANCE                                                                                                FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
    a   120 MARINE
        130 MJLLER ACT
                                                  IMMIGRATION - ”0" MONTHS DISCOVERY TRACK
                                                                 462 NATURALIZATION APPLICATION
                                                                                                                     TRACK
                                                                                                                              870 TAXES (U.S. Plaintiff or Defendant)




                                                                                                                      Erin
        140 NEGOTIABLE INSTRUMENT                                465 OTHER mﬂVHGRATION ACTIONS                                871 IRS - THIRD PARTY 26 USC 7609
        151 MEDICARE ACT
        160 STOCKHOLDERS' SUl'l'S                 PRISONER PETITIONS - "0" MONTHS DISCOVERY                                   STATUTES - "4" MONTHS DISCOVERY




                                                                                                                     O
        190 OTHER CONTRACT                        TRACK                                                              TRAC g
        195 CONTRACT PRODUCT LIABILITY                           463 HABEAS CORPUS- Alien Detainee                            375 FALSE CLAIMS ACT
        196 FRANCHISE                                            510 MOTIONS T0 VACATE SENTENCE                               376 Qui Tam 31 USC 3729(a)
                                                                 530 HABEAS CORPUS                                            400 STATE REAPPORTIONMENT
REAL PROPERTY - "4" MONTHS DISCOVERY
TRACK
                                                                 535 HABEAS CORPUS DEATH PENALTY
                                                                 540 MANDAMUS & OTHER
                                                                                                                         E    430 BANKS AND BANKING
                                                                                                                              450 COMMERCE/ICC RATES/ETC.
    - 210 LAND CONDEMNATION
                                                                                                                         E
                                                                 550 CIVIL RIGHTS - Filed Pro se                              460 DEPORTATION
    i 220 FORECLOSURE                                            555 PRISON CONDITION(S) 4 Filed Pro se                       47o RACKETEER INFLUENCED AND CORRUPT
    - 230 RENT LEASE & EJECTMENT                     D           560 CIVIL DETAH‘IEE: CONDITIONS 0F                                ORGANIZATIONS
    i 240 TORTS T0 LAND                                                CONFINEMENT                                            480 CONSUMER CREDIT
    - 245 TORT PRODUCT LIABHJTY
    -" 290 ALL OTHER REAL PROPERTY                PRISONER PETITIONS - "4" MONTHS DISCOVERY
                                                  TRACK
                                                                                                                         g    485 TELEPHONE CONSUIVIER PROTECTION ACT
                                                                                                                              490 CABLE/SATELLITE TV
                                                                                                                              890 OTHER STATUTORY ACTIONS
TORTS - PERSONAL INJURY             "4" MONTHS                                 -
                                                             I 550 CIVIL RIGHTS Filed by Counsel                         -    891 AGRICULTURAL ACTS
                                                     D
                                —
                                                     I

DISCOVERY TRACK                                                555 PRISON CONDITION(S) - Filed by Counsel                     893 ENVIRONMENTAL MATTERS
        3 I 0 AIRPLANE                                                                                                        895 FREEDOM OF INFORMATION ACT 899
        315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY
                                                  TRACK
                                                                                                                         D 899 ADMJNIS'IRA'IIVE PROCEDURES ACT/
        320 ASSAULT, LIBEL & SLANDER
        330 FEDERAL EMPLOYERS' LIABILITY             E 625 DRUG RELATED SEIZURE 0F PROPERTY                              D 950 CONSTITIHIONALITY 0F STATE STATUTES
                                                                                                                               REVIEW OR APPEAL OF AGENCY DECISION

        340 MARINE                                            USC       21        881
        345 MARINE PRODUCT LIABILITY
        350 MOTOR VEI-HCLE
                                                     D 69o omER                                                      OTHER STATUTES - "8" MONTHS DISCOVERY
                                                  LABOR "4" MONTHS DISCOVERY TRACK
                                                                                                                     TRACK
        355 MOTOR VEHICLE PRODUCT LIABILITY
                                                     D 710                                                               E
                                                                 —



        360 OTHER PERSONAL INJURY                          FAIR LABOR STANDARDS ACT                                           41o ANTITRUST
        362 PERSONAL INJURY - MEDICAL                    -
                                                       720 LABOR/MGMT. RELATIONS                                              850 SECURITIES / COMMODITIES / EXCHANGE
            MALPRACTICE                              i           740 RAEWAY LABOR ACT
    D   365 PERSONAL INJURY - PRODUCT LIABILITY          -       751 FAIWLY and WDICAL LEAVE ACT                     OTHER STATUTES - “0" MONTHS DISCOVERY
    D   367 PERSONAL INJURY - HEALTH CARE/
             PHARMACEUTICAL PRODUCT LIABILITY
                                                         -       790 OTHER LABOR LITIGATION
                                                                 791 EMPL. RET. INC. SECURITY ACT
                                                                                                                     TRACK
                                                                                                                         D s96 ARBITRATION
    D   368 ASBESTOS PERSONAL INJURY PRODUCT
             LIABILITY                            PROPERTY RIGHTS - "4" MONTHS DISCOVERY
                                                                                                                                      / Vacate Order /
                                                                                                                                  (Conﬁrm           /        Modify)

                                                  TRACK
TORTS - PERSONAL PROPERTY - "4" MONTHS                               820 COPYRIGHTS
                                                     D 84o TRADEMARK                                                 *   PLEASE NOTE DISCOVERY
                                                     I       I

DISCOVERY TRACK
        370 OTHER FRAUD                              E ago DEFEND TRADE SECRETS ACT                o1= 2016 (DTSA)
                                                                                                                         TRACK FOR EACH CASE
    D 371 TRUTH IN LENDING
                                                                                                                         TYPE. SEE LOCAL RULE 26.3
    E
      380 OTI-ER PERSONAL PROPERTY DAMAGE         PROPERTY RIGHTS - "8" MONTHS DISCOVERY
        385 PROPERTY DAMAGE PRODUCT LIABHJTY
                                                  TRACK
                                                                     830 PATENT
BANKRUPTCY - "0" MONTHS DISCOVERY TRACK
        422 APPEAL 28 USC 158                        D 835 PATENT-ABBREVIATED
                                                           APPLICATIONS
                                                                              NEW DRUG
                                                                              - a/k/a
        423 WITHDRAWAL 28 USC 157
                                                                                         (ANDA)
                                                                        Hatch-Waxman cases




VII. REQUESTED IN COMPLAINT:
     CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23 DEMAND $
JURY DEMAND D YES      NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
        JUDGE                                                                           DOCKET NO.
CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRmTE BOX)
        1.   PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
    D 2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT 0R TRANSACTION INCLUDED IN AN INEARLIER NUMBERED PENDING SUIT.
    D 3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT,CASE
                                                       COPYRIGHT 0R TRADEMARK INCLUDED AN EARLIER NUMBERED PENDING SUIT.
    D 4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY        AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
             BANKRUPTCY JUDGE.
    D 5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
    U 6. COMPANION 0R RELATED CASE T0 CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE 0F OTHER CASE(S)):

    D 7. EITHER SAME 0R ALL OFISTHE D
                                    PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE N0.                                                         , WHICH WAS
         DISMISSED. This case D       IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




     5Wdémz
 SIGNATURE OF ATTORNEY OF RECORD
                                                                                                            July 29, 2022
                                                                                                            DATE
